DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                          Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 1 of 16




                                                                            ,
             IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                                       PENNSYLVANIA

             WINDBER HOSPITAL d/b/a CHAN       :                       No: 2:20-cv-80
             SOON SHIONG MEDICAL CENTER,       :
             on behalf of himself and all others
                                               :
             similarly situated                :
                                               :
                                    Plaintiff, :                       COMPLAINT – CLASS ACTION
                                               :
                                               :
                 vs.                           :
                                               :
             TRAVELERS PROPERTY CASUALTY       :
             COMPANY OF AMERICA                :                       JURY TRIAL DEMANDED
                                               :
                                    Defendant. :

                                               CLASS ACTION COMPLAINT

                     AND NOW, Plaintiff Windber Hospital (herein “Plaintiff” or “Plaintiff

             Medical Center”) brings this action individually and on behalf of others similarly

             situated (The proposed Class), and alleges as and for their Class Action

             Complaint against: Travelers Property Casualty Company of America (hereinafter

             referred to as “Defendant Travelers” or “Defendant”), upon personal knowledge

             as to itself, and its own acts, and to all other matters upon information and

             belief, based upon, inter alia, the investigation made by its attorneys, as follows:

                                                        INTRODUCTION

                     1.       This is a proposed class action brought by Plaintiff Medical Center

                 on behalf of itself and others similarly situated citizens of the Commonwealth

                 of Pennsylvania who have sustained covered losses caused by COVID-19


                                                                                               1
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                         Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 2 of 16




                                                                                             ,
                 virus and were issued a policy of insurance providing , inter alia, business

                 income, extra expense, contamination, civil authority and other applicable

                 coverages to each class member; (b) the putative class member has suffered

                 covered losses under those policies by reason of the COVID-19 virus and

                 referenced Orders; and (c) Defendant Travelers has disclaimed coverage

                 and/or refused to acknowledge coverage under the policy in question for the

                 loss.

                     2.       The present action seeks declaratory and injunctive relief with

                 respect to insurance coverage for losses caused by the COVID-19 virus and

                 the governmental Orders entered in connection therewith.


                                                             PARTIES

                     3.       Plaintiff, Chan Soon – Shiong Medical Center at Windber (“Medical

                 Center”) is a corporation organized and existing under the Commonwealth of

                 Pennsylvania, with its principal place of business located at 600 Somerset

                 Avenue, Windber, Pennsylvania 15963; as such, Plaintiff is a citizen of the

                 Commonwealth of Pennsylvania.

                     4.       Plaintiff owns and operates Chan Soon – Shiong Medical Center at

                 Windber, Johnstown and Portage, Pennsylvania.

                     5.       Defendant, Travelers Property Casualty Company of America,

                 (“Travelers”) is a corporation organized and existing under the laws of the

                 State of Connecticut with its principal place of business in Hartford,

                                                                                              2
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 3 of 16




                                                                                             ,
                 Connecticut, being duly authorized to and regularly and routinely conducting

                 business in the Commonwealth of Pennsylvania.

                                                    JURISDICTION AND VENUE

                     6.       This court has jurisdiction over the claims asserted herein pursuant

                 to 28 U.S.C. § 1332(d)(2)(A) in that the amount in controversy exceeds the

                 sum or value of $5,000,000.00, exclusive of interest and costs, and is class

                 action in which members of the Putative Class are citizens of States different

                 from Defendant Travelers.

                     7.       No administrative or other non-judicial adjudicative body in the

                 Commonwealth of Pennsylvania has jurisdiction or authority to hear disputes

                 raised in this litigation regarding Plaintiff’s and the proposed class’ claims

                 against Defendant Travelers.

                     8.       Venue is proper pursuant to 15 U.S.C. § 80b-14 and U.S.C. § 1391.

                     9.       Defendant Travelers regularly conducts and solicits business in this

                 District.

                                                      INSURANCE COVERAGE

                     10.      At all times material hereto, there existed, in full force and effect, a

                 Deluxe Property Policy (No. P-630-4C211340-TIL-19) (“Travelers Policy”)

                 issued by Defendant, Travelers, to Plaintiff, Medical Center, providing, inter

                 alia, property, business, personal property, business income, extra expense,

                 continuation, civil authority and additional coverages applicable to the losses


                                                                                                    3
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 4 of 16




                                                                                                     ,
                 clamed in this action.            A true and correct copy of the Travelers Policy is

                 attached hereto and marked as Exhibit “A”.

                     11.      The Travelers Policy was in effect and provided coverage for the

                 period October 19, 2019 to October 19, 2020.

                     12.      The Travelers Policy is an “All Risks” policy which provides coverage

                 for losses to the insured premises unless specifically excluded.

                     13.      The Travelers Policy does not exclude the losses caused by the

                 Coronavirus Pandemic.

                     14.      The Travelers Policy provides coverage for the losses incurred by

                 Plaintiff, Medical Center, as a result of the Coronavirus Pandemic and the

                 actions of the government in response thereto.

                                                CORONAVIRUS PANDEMIC

                     11.      The Center for Disease Control and the World Health Organization

                 has for years warned of the possibility of an airborne virus which could cause

                 a worldwide pandemic.

                     12.      Coronavirus COVID-19 is a highly contagious airborne virus which

                 has rapidly spread and continues to spread across the United States.

                     13.      COVID-19 has been declared a pandemic by the World Health

                 Organization.

                     14.      The COVID-19 virus remains stable and transmittable in aerosols

                 and various surfaces for prolonged periods of time, up to two to three days on

                 some surfaces.
                                                                                                    4
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 5 of 16




                                                                                             ,
                     15.      The COVID-19 pandemic has been exacerbated by the fact that the

                 virus infects and stays on the surfaces of objects and materials for prolonged

                 periods.

                     16.      The COVID-19 virus is a public health crisis that has profoundly

                 affected all aspects of society, including the ability of the public to congregate

                 and gather.

                     17.      The Center for Disease Control has issued guidance that gatherings

                 of more than ten (10) people should not occur; such gatherings increase the

                 danger of contracting the COVID19 virus.

                     18.      On March 6, 2020, Governor Tom Wolf issued a Proclamation of

                 Disaster Emergency as a result of the COVID-19 virus.

                     19.      On March 19, 2020, Governor Tom Wolf issued an Order requiring

                 all non-life sustaining businesses in the Commonwealth to cease operation

                 and to close all physical locations.

                     20.      On March 23, 2020, Governor Tom Wolf issued a Stay at Home

                 Order for citizens of various counties in Pennsylvania.

                     21.      On March 23, 2020 the Pennsylvania Department of Health issued

                 a similar Order noting that the “operation of non-life sustaining businesses

                 present the opportunity for unnecessary gatherings, personal contact and

                 interaction that will increase the risk of transmission and the risk of

                 community spread of COVID-19.”


                                                                                                 5
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 6 of 16




                                                                                             ,
                     22.      On April 1, 2020, Governor Tom Wolf enforced the March 23, 2020

                 Stay at Home Order to the entire Commonwealth of Pennsylvania.

                     23.      On April 20, 2020, Governor Tom Wolf extended the March 23, 2020

                 Stay at Home Order to May 8, 2020 for the entire Commonwealth of

                 Pennsylvania.

                     24.      The COVID-19 virus, as evidenced by these Orders, causes damage

                 to property, particularly in places of business, such as that of Plaintiff,

                 Medical Center, and other similarly situated persons and organizations,

                 where the operation of the business requires inter-action, gatherings and

                 contact in areas where there exists a heightened risk of contamination by the

                 COVID-19 virus.

                                               IMPACT OF COVID-19 VIRUS

                     25.      As a result of the impact of the COVID-19 virus and the referenced

                 Orders of the Governor, Plaintiff, Medical Center, has been ordered to close

                 its business and forced to furlough employees, thereby incurring loss.

                     26.      As a result of the impact of the COVID-19 virus and the referenced

                 Orders of the Governor, many similarly situated businesses have been

                 ordered to close, thereby incurring losses similar to Plaintiff.

                     27.      The business of Plaintiff, Medical Center, like many businesses,

                 operates in “closed environment” where many persons, including employees

                 and customers, cycle in and out thereby creating a risk of contamination to

                 the insured premises.
                                                                                              6
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 7 of 16




                                                                                                  ,
                     28.      As a result of the COVID-19 virus, the business of Plaintiff, Medical

                 Center, like other similarly situated businesses, is susceptible to person to

                 person, person to property, and property to person transmittal and

                 contamination.

                     29.      The COVID-19 pandemic has directly and adversely affected the

                 business operations of Plaintiff, Medical Center, by causing damage and the

                 risk of further harm to the property and its occupants.

                     30.      Plaintiff, Medical Center, has suffered Business Income, Civil

                 Authority and other related losses which are covered by policies of insurance

                 issued by the Travelers Policy.

                                               PLAINTIFF’S ALLEGATIONS

                     31.      Plaintiff, Medical Center, has made claim upon Defendant,

                 Travelers, for recovery of losses caused by the COVID-19 virus and the

                 referenced Orders.

                     32.      Plaintiff, Medical Center, is entitled to a declaration that he is

                 covered under the Travelers Policy for, inter alia, business income, extra

                 expense, contamination, civil authority and other coverages under the

                 Travelers Policy.

                     33.      Plaintiff, Medical Center, is entitled to recover for all losses caused

                 by the COVID-19 virus and the referenced Orders under the Travelers Policy.

                     34.      Defendant, Travelers, has wrongfully denied the claims Plaintiff,

                 Medical Center, for recovery of damages caused by the COVID-19 virus and
                                                                                                   7
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 8 of 16




                                                                                               ,
                 referenced Orders. A true and correct copy of the Travelers Denial of Coverage

                 Letter is attached hereto and marked as Exhibit “B”.

                     35.      Plaintiff, Medical Center, is entitled to a declaration that the policies

                 of insurance issued Defendant, Travelers, provide coverage for the losses

                 caused by the COVID-19 virus and referenced Orders.

                     36.      Plaintiff, Medical Center, is entitled to an Order enjoining Defendant,

                 Travelers, from denying coverage to insureds for business income, extra

                 expense, contamination, civil authority and other coverages for losses caused

                 by the COVID-19 virus and referenced Orders.

                                                  CLASS ACTION ALLEGATIONS

                     37.      Plaintiff and the Class incorporate by reference each preceding and

                 succeeding paragraph as though fully set forth therein.

                     38.      Plaintiff brings all claims herein as class pursuant to Fed. R. Civ. P.

                 23. The requirements of Fed. R. Civ. P. 23 (a), (b)(2) and (b)(3) are met with

                 the class defined below.

                     39.      Defendant, Travelers, has wrongfully denied and/or failed to

                 acknowledge the coverage to persons or organizations who have sustained

                 covered losses caused by the COVID-19 virus and the referenced Orders.

                     40.      Plaintiff, Medical Center, seeks to represent a class of Pennsylvania

                 citizens who have sustained covered losses caused by the COVID-19 virus

                 and the referenced Orders where: (a) Defendant, Travelers, issued a policy of


                                                                                                     8
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 9 of 16




                                                                                                         ,
                 insurance        providing,        inter    alia,   business   income,   extra   expense,

                 contamination, civil authority and other applicable coverages to each class

                 member; (b) the putative class member has suffered covered losses under

                 those policies by reason of the COVID-19 virus and referenced Orders; and

                 (c) Defendant, Travelers, has disclaimed coverage and/or refused to

                 acknowledge coverage under the policy in question for the loss.

                     41.      Plaintiff, Medical Center, reserves the right to amend the definition

                 and/or identify subclasses upon completion of class certification.

                     42.      The putative class is limited to citizen citizens of the Commonwealth

                 of Pennsylvania in numbers sufficient to allow class certification.

                     43.      The members of the class are so numerous that joinder of them is

                 impracticable.

                     44.      Identification of the members of the class can be ascertained in and

                 through discovery of the files and/or computer data base of Defendant,

                 Travelers.

                     45.      A class action is the only practicable means available for the

                 members of the class to pursue the appropriate remedies and receive the

                 necessary underinsured motorist benefits under the policies of insurance in

                 question.

                     46.      A class action is the only practicable means available to prevent the

                 Defendant, Travelers, from engaging in the continuous and systematic denial


                                                                                                         9
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 10 of 16




                                                                                       ,
                 and disclaimer of coverage for losses caused by the COVID-19 virus and

                 referenced Orders.

                     47.      The questions of law and fact are common to the members of the

                 class which Plaintiff, Medical Center, seeks to represent.

                     48.      The questions of law and fact common to the members of the class

                 predominate over questions that may affect only individual members.

                     49.      The common questions of law and fact which control this litigation

                 predominate over any individual issues include, but are not limited to:


                         (a) Each member of the class suffered losses as a result of the COVID-
                         19 virus and referenced Orders;

                         (b) Each member of the class is an insured under a policy of insurance
                         issued by Defendant, Travelers, which provided business income, extra
                         expense, contamination, civil authority and other coverages applicable
                         to the loss;

                         (c) Each class member is eligible to recover under the policy issued by
                         Defendant, Travelers, for the losses caused by the COVID-19 virus and
                         the referenced Orders;

                         (d) Defendant, Travelers, has denied or refused to acknowledge
                         coverage for the loss;

                         (e) The denial or refusal to acknowledge coverage is illegal and a breach
                         of the terms and provisions of the policy at issue; and

                         (f) Each member of the class is entitled to a declaration that he or she
                         is entitled to recover under the policy of insurance issued by Defendant,
                         Travelers, for the losses caused by the COVID-19 virus and referenced
                         Orders.

                     50.      Plaintiff, Medical Center, is a member of the class that he seeks to

                 represent.

                                                                                               10
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 11 of 16




                                                                                                     ,
                     51.      The claims Plaintiff, Medical Center, are typical of the claims of other

                 members of the class which he purports to represent.

                     52.      Plaintiff, Medical Center, is well qualified to act as class

                 representative.

                     53.      Plaintiff, Medical Center, will fairly and adequately protect the

                 interests of the members of the class.

                     54.      Plaintiff, Medical Center, has no interest that is adverse or

                 antagonistic to the interests of the members of the class.

                     55.      Plaintiff, Medical Center, is committed to prosecuting the class

                 action.

                     56.      Plaintiff, Medical Center, has retained competent counsel who are

                 experienced in litigation of this nature.

                     57.      A class action is superior to other available methods for the fair and

                 efficient adjudication of the controversy.

                     58.      The expense and burden of individual litigation makes it unlikely

                 that a substantial member of the class members will individually seek redress

                 for the wrongs done to them.

                     59.      It is desirable for all concerned to concentrate the litigation in this

                 particular forum for adjudication.

                     60.      Plaintiff,     Medical         Center,   anticipates   no   difficulty   in   the

                 management of this action as a class action.


                                                                                                             11
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 12 of 16




                                                                                                   ,
                     61.      The class action brought by Plaintiff, Medical Center, is a convenient

                 and proper forum in which to litigate the claim.

                     62.      The prosecution of separate actions by individual class members

                 would create the risk of bearing inconsistent determinations that could

                 confront Defendant, Travelers, with incompatible standards of conduct and

                 which could prejudice non-parties to any adjudication or substantially

                 impede their ability to protect their own interests because of the overriding

                 common questions of law and fact involved in the matter.

                     63.      Prosecution of these claims as a class action will result in an orderly

                 and expeditious administration of the claims and will foster economies of

                 time, effort and expense.

                     64.      Prosecution of these claims as a class action will contribute to

                 uniformity of decisions concerning the practices of Defendant, Travelers.

                                                      CAUSE OF ACTION
                                                           COUNT I
                                                      (Declaratory Relief)

                     65.      Plaintiff, Medical Center, hereby incorporates by reference the

                 foregoing Paragraphs 1 through 35 of this Complaint as though same were

                 fully set forth herein.

                     66.      Plaintiff, Medical Center, is entitled to coverage under the Travelers

                 Policy for the losses caused by the COVID-19 virus and referenced Orders.




                                                                                                  12
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 13 of 16




                                                                                                        ,
                     67.      Defendant, Travelers, has denied and/or refused to acknowledge

                 coverage for the losses of Plaintiff, Medical Center, caused by the COVID-19

                 virus and the referenced Orders.

                     68.      Plaintiff, Medical Center, is entitled to recover for losses covered by

                 the COVID-19 virus and the referenced Orders under the Travelers Policy.

                     69.      Defendant, Travelers, has wrongfully refused to provide coverage to

                 Plaintiff, Medical Center, under the Travelers Policy.

                     70.      The denial and refusal to acknowledge coverage to Plaintiff,

                 Medical Center, under the Travelers Policy is a material breach of that

                 policy.

                     71.      The denial and refusal to acknowledge coverage to Plaintiff,

                 Medical Center, under the Travelers Policy is in direct violation of the

                 specific terms and provisions of the Travelers Policy.

                     72.      Plaintiff, Medical Center, is entitled to a declaration that he is

                 entitled to coverage for losses caused by the COVID-19 virus and the

                 referenced Orders.

                     73.      The controversy poses an issue for judicial determination under

                 the Declaratory Judgment Act.

                     74.      The controversy involves substantial rights of the parties to the

                 action.




                                                                                                   13
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 14 of 16




                                                                                                     ,
                     75.      The controversy poses an issue for judicial determination which is

                 not within the scope of authority of any arbitrator or arbitration panel

                 pursuant to the policy of insurance in question.

                     76.      A judgment of this court in this action will also be useful for the

                 purpose of clarifying and settling the legal relations at issue between the

                 parties.

                     77.      A judgment of this court will determine, terminate and afford relief

                 from the uncertainty and controversy giving rise to this action.

                     WHEREFORE, Plaintiff, Chan Soon – Shiong Medical Center at Windber,

             respectfully requests that the Court enter an Order:

                              (a)     declaring that Plaintiff, Chan Soon – Shiong Medical Center at
                                      Windber, is entitled to coverage for losses caused by the
                                      COVID-19 virus and the referenced Orders from Defendant,
                                      Travelers Property Casualty Company of America;

                              (b)     such other relief as the court deems appropriate.

                                                            COUNT II
                                                       (Injunctive Relief)

                     49.      Plaintiff, Medical Center, hereby incorporates by reference the

             foregoing Paragraphs 1 through 48 of this Complaint as though same were fully

             set forth herein.

                     50.      Plaintiff, Medical Center, has made claim upon Defendant,

             Travelers, for coverage for losses caused by the COVID-19 virus and the

             referenced Orders including but not limited to business income, extra expense,

             contamination, civil authority and other coverages.
                                                                                                    14
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 15 of 16




                                                                                        ,
                     51.      Defendant, Travelers, has denied or refused to acknowledge

             coverage for the loss.

                     52.      Defendant, Travelers, continues to deny and/or refused to

             acknowledge coverage for the losses caused by the COVID-19 virus and the

             referenced Orders.

                     53.      Plaintiff, Medical Center, has suffered damages and/or is at

             immediate risk of suffering damages as a result of the continued denial and/or

             refusal to acknowledge coverage by Defendant, Travelers, for the loss caused by

             the COVID-19 virus and the referenced Orders.

                     54.      Defendant, Travelers, must be enjoined from continuing to deny

             and/or refuse to acknowledge coverage to insureds for losses caused by the

             COVID-19 virus and the referenced Orders.

                                                        PRAYER FOR RELIEF

                     WHEREFORE, Plaintiff, Chan Soon – Shiong Medical Center at Windber,

             respectfully requests that the Court enter an Order enjoining Defendant,

             Travelers Property Casualty Company of America, from further denying

             coverage to Plaintiff, Chan Soon – Shiong Medical Center at Windber, for losses

             caused by the COVID-19 virus and the governmental Orders.

                     WHEREFORE, Plaintiff, Chan Soon – Shiong Medical Center at Windber,

             respectfully requests that the Court enter judgment against Defendant,




                                                                                          15
DocuSign Envelope ID: 2726FD26-65D2-4496-8E22-4137C33885C4
                       Case 3:20-cv-00080-KRG Document 1 Filed 04/23/20 Page 16 of 16




                                                                                                 ,
             Travelers Property Casualty Company of America, for all covered losses and

             damages under the Travelers Policy.

                                                DEMAND FOR JURY TRIAL

             Plaintiff hereby demands a trial by jury on all claims and issues.




          HAGGERTY, GOLDBERG, SCHLEIFER                          SCHMIT KRAMER, P.C.
          & KUPERSMITH, P.C.

          BY: _________________________                          BY: _______________________
          JAMES C. HAGGERTY, Esquire                             SCOTT B. COOPER, Esquire
          PA Attorney I.D. # 30003                               PA Attorney I.D. #70242
          1835 Market Street, Suite 2700                         209 State Street
          Philadelphia, PA 19103                                 Harrisburg, PA 17101
          (267) 350-6600                                         (717) 232-6300


          JACK GOODRICH & ASSOCIATES                             KOHN, SWIFT & GRAF, P.C.


          BY: ________________________                           BY: ________________________
          JOHN P. GOODRICH, Esquire                              JONATHAN SHUB, Esquire
          PA Attorney I.D. #49648                                PA Attorney I.D. #53965
          429 Fourth Avenue                                      1600 Market Street, Suite
          Pittsburg, PA 15219                                    Philadelphia, PA 19103
          (412) 261-4663                                         (215) 238-1700

                                            Attorneys for Plaintiffs




                                                                                                16
